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                             United States District Court
                                         Southern District of Florida
                                                     MIAMI DIVISION

 UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL
                                                                    CASE

 v.                                                                 Case Number - 1:19-20141-CR-KING-002

 VICTOR ROJAS
                                                                    USM Number: 18114-104

                                                                    Counsel For Defendant: Ana M. Davide, Esq.
                                                                    Counsel For The United States: Timothy J. Abraham, AUSA
                                                                    Court Reporter: Vernita Allen-Williams
 ___________________________________



 The defendant pleaded guilty to Count One of the Indictment.
 The defendant is adjudicated guilty of the following offense:


      TITLE/SECTION                     NATURE OF
         NUM BER                         OFFENSE                    OFFENSE ENDED                          COUNT

  18 U.S.C. § 1956(h)            Conspiracy to commit                  February 2019                           1
                                 money laundering

 The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.

 Remaining Counts are dismissed on the motion of the United States.

 It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
 name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
 are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any material
 changes in economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                              8/17/2020


                                                                              ________________________________
                                                                              JAMES LAW RENCE KING
                                                                              United States District Judge

                                                                              August 20, 2020
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 DEFENDANT: VICTOR ROJAS
 CASE NUMBER: 1:19-20141-CR-KING-002

                                        AM ENDED      IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
 a term of SEVENTY (70) M onths to run concurrent with Southern District of New York Case No. 19-00091-CR-
 DLC..

 The defendant is remanded to the custody of the United States Marshal.




                                                     RETURN

 I have executed this judgment as follows:




 Defendant delivered on ____________________ to _________________________________

  at _____________________________________________, with a certified copy of this judgment.


                                                                       __________________________________
                                                                            UNITED STATES MARSHAL


                                                                   By:__________________________________
                                                                               Deputy U.S. Marshal




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 DEFENDANT: VICTOR ROJAS
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                                               SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) Years.

 The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
 release from the custody of the Bureau of Prisons.

 The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
 of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
 at least two periodic drug tests thereafter, as determined by the court.

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.


         If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in
 accordance with the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as any
 additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION

 1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;
 2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          fifteen days of each month;
 3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
 4.       The defendant shall support his or her dependents and meet other family responsibilities;
 5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
 6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
 7.       The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
          any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
 10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view by the probation officer;
 11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
          enforcement officer;
 12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
 13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant’s compliance with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:

 Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
 manner and at a reasonable time by the U.S. Probation Officer.

 Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of
 imprisonment, the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement for
 removal proceedings consistent with the Immigration and Nationality Act. If removed, the defendant shall not reenter
 the United States without the prior written permission of the Undersecretary for Border and Transportation Security.
 The term of supervised release shall be non-reporting while the defendant is residing outside the United States. If the
 defendant reenters the United States within the term of supervised release, the defendant is to report to the nearest U.S.
 Probation Office within 72 hours of the defendant’s arrival.




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                                       CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule
 of Payments sheet.


             Total Assessment                                   Total Fine                                Total Restitution

                   $100.00




 *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
 committed on or after September 13, 1994, but before April 23, 1996.




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                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

           A. Lump sum payment of $100.00 due immediately, balance due


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
 Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

           U.S. CLERK’S OFFICE
           ATTN: FINANCIAL SECTION
           400 NORTH M IAM I AVENUE, ROOM 8N09
           M IAM I, FLORIDA 33128-7716

 The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
 the U.S. Attorney’s Office are responsible for the enforcement of this order.




          The defendant shall forfeit the defendant’s interest in the following property to the United States:

                    A sum of money equal in value to the property, real or personal, involved in
                    the violations alleged in the Indictment, or any property traceable to such
                    property, which the United States of America will seek as a forfeiture money
                    judgment against the defendant upon the conviction and as part of the
                    respective sentence in this case.

          The defendant’s right, title and interest to the property identified in the preliminary order of forfeiture, which
 has been entered by the Court and is incorporated by reference herein, is hereby forfeited.

   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
 fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and
 court costs.




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